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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


   PHILIP E. BOYNTON, et al.,          )
                                       )
         Plaintiffs,                   )
                                       )
   vs.                                 )       No. 1:02-cv-01111-JPM-egb
                                       )
   HEADWATERS, INC.,                   )
                                       )
         Defendant.                    )

   ________________________________________________________________

     ORDER GRANTING PLAINTIFFS’ RENEWED MOTION FOR ATTORNEY’S FEES,
                    EXPENSES, AND INCENTIVE PAYMENTS
   ________________________________________________________________

         Before the Court is Plaintiffs’ Renewed Motion for

   Attorneys Fees, Expenses, and Incentive Payments (“Pls.’ Mot.”)

   (Docket Entry (“D.E.”) 1048), filed on July 26, 2011. Defendant

   filed a response on August 16, 2011, stating that it does not

   oppose Plaintiffs’ Motion given that Plaintiffs are not seeking

   to increase Defendant’s liability in this matter. (D.E. 1052.)

   The Court approved a notice to be sent to class members

   regarding Plaintiffs’ Motion on December 21, 2011. (D.E. 1060.)

   The deadline for class members to file objections was February

   10, 2012. (Id.) Plaintiffs filed notice with the Court on

   February 21, 2012 that three class members registered

   objections, and Plaintiffs submitted the objections to the




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   Court. (D.E. 1069.) For the reasons that follow, the Court

   GRANTS Plaintiffs’ Motion.

   I. BACKGROUND

         This case arises out of James Gary Davidson’s (“Davidson”)

   scheme to defraud investors in an Illinois corporation called

   Adtech.1 Plaintiffs2 filed the instant suit on May 6, 2002. On

   February 2, 2006, the Court granted summary judgment in favor of

   Defendant. (D.E. 493.) On appeal, the Court of Appeals for the

   Federal Circuit affirmed in part and vacated in part the Court’s

   summary judgment order. (D.E. 495; D.E. 515.) The Federal

   Circuit remanded the case for trial on Plaintiffs’ civil

   conspiracy claims.

         The Court conducted the first phase of a bifurcated trial

   in June 2009. The 2009 jury found, inter alia, that Headwaters

   engaged in a civil conspiracy to defraud Plaintiffs. (D.E. 750.)

   The Court conducted the trial’s second phase in August and

   September 2010. The 2010 jury found, inter alia, that most of

   the unnamed Plaintiffs reasonably relied on a misrepresentation

   or omission by Davidson. (D.E. 942.) After the jury verdicts,

   the parties briefed the remaining equitable issues. (D.E. 965;

   D.E. 972; D.E. 973.) The Court issued a Memorandum Opinion and

   Order on April 11, 2011, awarding Plaintiffs $16,011,771.00 in

   1
     The background facts are discussed in numerous prior orders. (See, e.g.,
   Order Granting Mot. to Certify Class Pursuant to Rule 23 (D.E. 574).)
   Accordingly, they are not discussed in detail here.
   2
     The class consists of named and unnamed Plaintiffs.

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   total damages, with the named class members receiving $8,745,000

   and unnamed class members receiving $7,266,771. (Mem. Op. &

   Order (D.E. 984) 16.) Judgment was entered on April 12, 2011.

   (D.E. 986.) Defendant filed a Notice of Appeal of the Judgment

   (D.E. 1021) on July 8, 2011, and Plaintiffs filed a Notice of

   Cross-Appeal (D.E. 1042) on July 24, 2011.

         Shortly after filing suit, the named Plaintiffs and

   Plaintiffs’ counsel, Jeffrey Greene (“Plaintiffs’ Counsel” or

   “Mr. Greene”), reached an agreement regarding compensation for

   Mr. Greene’s services. (See Pls.’ Mot. Ex. 2 (D.E. 1048-3).) Mr.

   Greene agreed to represent Plaintiffs on a contingent fee basis

   entitling him to 33.33% of any amounts recovered in a settlement

   or trial and 40% of any amounts recovered if the case was

   appealed. (Id. at 1.) The agreement also stated that the named

   Plaintiffs were responsible for all out-of-pocket expenses

   incurred by Mr. Greene in pursuing their claims. (Id. at 2.) In

   the instant motion, (1) Mr. Greene seeks to recover attorney’s

   fees and expenses on the same terms from the unnamed Plaintiffs

   and (2) the named Plaintiffs seek incentive payments for the for

   their efforts in this case.

   II. ANALYSIS

         a. Attorney’s Fees

         Pursuant to Federal Rule of Civil Procedure 23, a court

   “may award reasonable attorney’s fees and nontaxable costs that

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   are authorized by law or by the parties’ agreement.” Fed. R.

   Civ. P. 23(h). In awarding attorney’s fees, “a court must make

   sure that counsel is fairly compensated for the amount of work

   done as well as for the results achieved.” Rawlings v.

   Prudential Bache Props., Inc., 9 F.3d 513, 516 (6th Cir. 1993)

   (citing Lindy Bros. Builders, Inc. of Phila. v. Am. Radiator &

   Standard Sanitary Corp., 487 F.2d 161, 166-68 (3d Cir. 1973)).

   The Court will consider the following factors in determining

   class counsel’s fee:

               (1) the value of the benefit rendered to the
               plaintiff class; (2) the value of the
               services on an hourly basis; (3) whether the
               services were undertaken on a contingent fee
               basis; (4) society’s stake in rewarding
               attorneys who produce such benefits in order
               to maintain an incentive to others; (5) the
               complexity of the litigation; and (6) the
               professional skill and standing of counsel
               involved on both sides.

   Moulton v. U.S. Steel Corp., 581 F.3d 344, 352 (6th Cir. 2009)

   (quoting Bowling v. Pfizer, Inc., 102 F.3d 777, 780 (6th Cir.

   1996)).

         These factors weigh in favor of awarding Plaintiffs’

   counsel 40% of the judgment obtained by the named Plaintiffs in

   accordance with the parties’ agreement and 40% of the judgment

   obtained by the unnamed Plaintiffs. This litigation has been

   long and hard fought. Mr. Greene has guided the case through two

   trials and an appeal. A second appeal is currently pending. Mr.


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   Greene took a substantial risk in taking this case on a

   contingency basis. Society has a strong interest in

   incentivizing competent counsel to represent plaintiffs who are

   the alleged victims of a conspiracy to commit fraud. Mr. Greene

   has ably litigated this complex matter against zealous

   opposition. For these reasons, the Court finds that the

   requested fee amount is “reasonable under the circumstances.”

   Moulton, 497 F.3d at 352 (quoting Rawlings, 9 F.3d at 516)

   (quotation marks omitted).

         It is also reasonable to award Mr. Greene a 40% contingent

   fee from the unnamed Plaintiffs, as the unnamed Plaintiffs

   substantially benefited from Mr. Greene’s services. In contrast

   to other class actions, there were not any competing individual

   or class lawsuits filed in this matter. No other attorney sought

   to represent an unnamed Plaintiff or certify a class. In

   addition, Mr. Greene’s work to certify the unnamed Plaintiffs as

   a class preserved many of the class member’s claims against the

   statute of limitations. It is likely, therefore, that none of

   the unnamed Plaintiffs would have recovered from Defendants but

   for Mr. Greene’s efforts. Moreover, Mr. Greene had to perform a

   significant amount of work on the individual claims of each

   unnamed class member, including responding to written discovery

   for each unnamed class member and attending depositions of more

   than seventy unnamed class members. Accordingly, the Court

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   awards Plaintiffs’ counsel a fee award of 40% of the judgments

   obtained by the named and unnamed Plaintiffs in this action.

         b. Litigation Expenses

         Plaintiffs’ counsel also seeks reimbursement for litigation

   expenses and requests that the expenses be shared

   proportionately by named and unnamed class members. (Pls.’ Mot.

   10–12.) Plaintiffs’ counsel’s agreement with the named

   Plaintiffs states that Plaintiffs will reimburse Plaintiffs’

   counsel for all out-of-pocket expenses, including long distance

   phone charges, court costs, copy costs, and legal research fees.

   (Pls.’ Mot. Ex. 2 (D.E. 1048-3) 1–2.) Plaintiffs’ counsel

   submitted an itemized list of expenses totaling $362,655.42 in

   reimbursable costs. (See Pls.’ Mot. Exs. 3–6 (D.E. 1048-4).) In

   a previous order, the Court ordered that costs be taxed against

   Defendant and in favor Plaintiffs in the amount of $90,406.90.

   (Order Adopting in Part and Overruling in Part Clerk’s Order

   Taxing Costs (D.E. 1070) 1.) Thus, Plaintiffs’ counsel now seeks

   to recover the remaining $272,248.52 in costs from the named and

   unnamed Plaintiffs.

          “Expense awards are customary when litigants have created

   a common settlement fund for the benefit of the class.” In re

   Delphi Corp. Sec., Deriv. & “ERISA” Litig., 248 F.R.D. 483, 504

   (E.D. Mich. 2008) (citation and quotation marks omitted). “Under

   the common fund doctrine, class counsel are entitled to

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   reimbursement of all reasonable out-of-pocket litigation

   expenses and costs in the prosecution of claims and in obtaining

   settlement.” Id.

         After reviewing Plaintiffs’ counsel’s list of expenses, the

   Court finds that Plaintiffs’ request for $272,248.52 in expenses

   is reasonable. The Court also finds that it is appropriate for

   the expenses to be shared proportionately by named and unnamed

   class members given that Plaintiffs’ counsel incurred these

   expenses pursuing the claims of both named and unnamed

   Plaintiffs. Accordingly, the Court awards Plaintiffs’ counsel

   $272,248.52 in expenses, to be shared proportionally by named

   and unnamed Plaintiffs based on the amount each Plaintiff

   recovered.

         c. Incentive Payments

         Plaintiffs request incentive payments for the named

   Plaintiffs as compensation for their efforts in bringing and

   maintaining this action. Specifically, Plaintiffs seek incentive

   payments of $100,000 for Plaintiffs Scott Bernard and Phil

   Boynton and of $10,000 for the other named Plaintiffs.

   Plaintiffs note that the total amount requested for incentive

   payments represents approximately 3.6% of the judgment for each

   unnamed class member. (Pls.’ Mot. 16.)

         Where a class action suit has created a common fund, it may

   be appropriate to award plaintiffs who were especially engaged

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   in the litigation an incentive award. See Hadix v. Johnson, 322

   F.3d 895, 898 (6th Cir. 2003). “[I]ncentive awards are

   efficacious ways of encouraging members of a class to become

   class representatives and rewarding individual efforts taken on

   behalf of the class.” Id. at 897. Courts must, however,

   carefully scrutinize requests for incentive awards, which “may

   lead named plaintiffs to expect a bounty for bringing suit or to

   compromise the interest of the class for personal gain.” Id.

         The named Plaintiffs have made significant financial and

   personal sacrifices in sustaining this action for nearly a

   decade. The named Plaintiffs advanced the costs for the

   litigation, consulted with Plaintiffs’ counsel on countless

   occasions, and attended multiple mediations and two trials. (See

   Pls.’ Mot. Ex. 6 (D.E. 1048-7) ¶¶ 5–11.) The incentive payments

   requested by Mr. Bernard and Mr. Boynton are substantial, but

   their diligence in pursuing this action on behalf of the unnamed

   Plaintiffs justifies the award.3 Without the efforts of the named

   Plaintiffs, Mr. Bernard and Mr. Boynton in particular, it is

   unlikely that any of the unnamed Plaintiffs would have received

   any recovery. Accordingly, the Court finds that the incentive

   3
     Mr. Boynton did not receive a judgment in this case because he re-acquired
   his shares of Adtech stock after its dissolution. (See Verdict Form (D.E.
   750) 2.) The fact that Mr. Boynton did not obtain a verdict, however, does
   not detract from his efforts on behalf of the class members. It is clear from
   Mr. Boynton’s involvement in this case that he was pursuing legitimate claims
   against Defendants and was not seeking a “bounty.” Given that the purpose of
   incentive payments is to reward individual efforts taken on behalf of the
   class, the Court finds that Mr. Boynton is entitled to an incentive payment.

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   payments requested by the named Plaintiffs are appropriate, and

   the Court awards Mr. Bernard and Mr. Boynton $100,000 each and

   the other named Plaintiffs $10,000 each.

         d. Plaintiffs’ Objections

         Three Plaintiffs have submitted objections to Plaintiffs’

   Motion. Kevin McSherry, the executor of the estate of his

   father, William McSherry, who owned 1500 shares of Adtech stock,

   submitted the following objection:

         I feel the ‘Glassner v. R.J. Reynolds’ is not
         relevant in this case because the only person who
         could testify then was deceased — not so in our
         case.

   (D.E. 1069-1 at 3.) William McSherry’s claim was dismissed on

   summary judgment. (D.E. 856.) The second objection was submitted

   by Duncan Walker, who owned 1500 shares of Adtech stock and was

   awarded a judgment of $65,970.00. Mr. Duncan’s objection reads:

         When this Class Action began, attorney’s fees
         were agreed upon to be 33%. If Mr. Boynton agreed
         to a change later it was without the knowledge of
         the majority of shareholders. Fees requested for
         expenses and incentive pay should be awarded by
         Headwaters and not from the class, Their award
         amounts are already substantial.

   (D.E. 1069-1 at 1.) The third objection was filed by

   Annelise O’Doherty, who owned 500 shares of Adtech stock

   and was awarded a judgment of $21,900.00. Ms. O’Doherty’s

   objection reads:

         There was no discussion regarding extra fees,
         expenses & incentive payments when we agreed to

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       the original fees, etc., should the matter take
       longer than expected. The delay was due to
       Headwaters, Inc. and their numerous appeals. We,
       the innocent victims, should not have to bear the
       cost of additional fees.

 (D.E. 1069-1 at 2.)

       The Plaintiffs’ objections do not alter the Court’s

 findings. Mr. McSherry’s objection appears to reference

 Glassner v. R.J. Reynolds Tobacco Co., 223 F.3d 343 (6th

 Cir. 2000), a case that is not relevant to the issues of

 attorney’s fees, expenses, and incentive payments. As to

 the objections of Mr. Walker and Ms. O’Doherty, a

 contingency fee of 40% in the event of an appeal was agreed

 to by the named Plaintiffs and Plaintiff’s counsel, as

 evidenced by the parties’ engagement letter, and is a

 reasonable fee in this case. Mr. Walker and Ms. O’Doherty

 also suggest that Defendant should be responsible for

 paying Plaintiffs’ attorneys fees. Under the “American

 Rule,” however, each party bears its own attorney fees.

 See, e.g., BDT Products, Inc. v. Lexmark Int'l, Inc., 602

 F.3d 742, 752 (6th Cir. 2010). While Mr. Walker and Ms.

 O’Doherty may feel Defendant should pay Plaintiffs’

 attorney’s fees, the law does not support their position.

 III. CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion is GRANTED.

 The Court awards Plaintiffs’ counsel 40% of the judgments

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 obtained by the named and unnamed Plaintiffs in this action and

 $272,248.52 in expenses, to be shared proportionally by named

 and unnamed Plaintiffs based on the amount each Plaintiff

 recovered. Plaintiffs Scott Bernard and Phil Boynton shall each

 receive $100,000 as incentive payments and the other named

 Plaintiffs shall each receive $10,000.

       IT IS SO ORDERED this 27th day of March, 2012.



                                            _s/ Jon P. McCalla_______
                                            JON P. McCALLA
                                            CHIEF U.S. DISTRICT JUDGE




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